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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE DIVISION

Case No.: 4:14-cv-126-MW-CAS

SHAMINAL P. GADDY,

 

Plaintiff,
vs.
WAL-MART STORES EAST, LP.,
Defendant.
/
SWORN D F SONIA SOTO

I, Sonia Soto make the following declaration under penalty of perjury pursuant to the laws of
the United States:

1. I am over 18 years of age and competent to testify to the matters stated in this
declaration. I make this declaration based upon my personal knowledge. This declaration is given
voluntarily and is true and correct to the best of my knowledge, information, and belief.

2. In or around 2011, I assumed the role of Walmart’s Market Human Resource
Manager (MHRM) for Market 99, which includes Store 5172 in Perry, Florida. I have been
continuously employed in this capacity from 2011 to the present. Thus, I was employed in this
capacity between 2011 and the termination of Plaintiff Shaminal Gaddy’s employment in 2013.

3. In my capacity as the MHRM, I am responsible for the Human Resources functions
for Stores and Associates in my assigned Market. In the ordinary course and scope of my business
duties, I have access to the petsonnel records of the Associates within my assigned Market. Further,
in my assigned capacity as MHRM, J have access to, and am familiar with, records of promotional

opportunities available to, and applied for, by Associates within my assigned Market.
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4. Such records, which are maintained by Walmart in the ordinary course and scope of
its business, include records of all tequisitions for which Ms. Gaddy was included during the four
years preceding her termination. Copies of Ms. Gaddy’s Walmart Career Preference and Kenexa
data are attached hereto, in spreadsheet format, as Exhibits A and B, respectively.

5. As Exhibits A and B teflect, with respect to all requisitions in which Ms. Gaddy was
included between December 2009 and March 2013, Walmart has no record of an Associate named
“Patricia” being promoted.

6. Additionally, as Walmart’s business records reflect, Walmart Associate Cheryl
Addison was promoted to Zone Supervisor in September of 2009.

7. Walmart maintains a standardized selection process for internal candidates who wish
to he considered for other positions within the Company. Rather than utilizing a job posting system
by which candidates must wait for open positions to be posted and then apply for those positions,
Walmart relies on an automated system through which Associates indicate if they wish to be
considered for promotion, transfer, or other job opportunities. Using this system, Associates may
select positions to which they wish to apply; when a position becomes available, Walmart opens a
requisition, and only those Associates who have indicated an interest in the particular position will
appear in the requisition and be considered for the position.

8. Under the Walmart Stores Transfer Program, an Associate is ineligible for
promotion if he or she has an active “Written” or “Decision Making Day” Coaching (now known as

a Second and Third Written Coaching, respectively).

PURSUANT TO 28 U.S.C. § 1746, | VERIFY UNDER PENALTY OF PERJURY UNDER
THE LAWS OF THE UNITED STATES OF AMERICA THAT THE FOREGOING IS
TRUE AND CORRECT.
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DATED: September !4__ 2014

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Sonia Soto |

 

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